Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 1 of 15 PageID #: 2169




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X
  IME WATCHDOG, INC.,

                                    Plaintiff,
                                                                      Case No.: 1:22-cv-1032 (PKC)(JRC)
                   -against-
                                                                      MEMORANDUM OF LAW OF
  SAFA ABDULRAHIM GELARDI, VITO GELARDI,                              OF DEFENDANTS SAFA
  GREGORY ELEFTERAKIS, ROMAN POLLAK,                                  ABDULRAHIM GELARDI AND
  ANTHONY BRIDDA, NICHOLAS ELEFTERAKIS,                               IME COMPANIONS LLC IN
  NICHOLAS LIAKIS, and IME COMPANIONS LLC,                            OPPOSITION TO PLAINTIFF’S
                                                                      MOTION TO SERVE A
                                     Defendants.                      SECOND AMENDED
  ----------------------------------------------------------------X   COMPLAINT
  SAFA GELARDI and IME COMPANIONS, LLC,

                                    Third-Party Plaintiffs,

                   -against-

  CARLOS ROA,

                                     Third-Part Defendant.
  ----------------------------------------------------------------X
  CARLOS ROA,

                            Third-Party Counter-Claimant,

                   -against-

  SAFA ABDULRAHIM GELARDI, VITO GELARDI,
  and IME COMPANIONS, LLC,

                             Third-Party Counter-Defendants.
  ----------------------------------------------------------------X

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Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 2 of 15 PageID #: 2170




                                                    TABLE OF CONTENTS


  TABLE OF AUTHORITIES.............................................................................................................ii


  PRELIMINARY STATEMENT.......................................................................................................1


  COUNTER-STATEMENT OF FACTS............................................................................................1


  ARGUMENT:

  PLAINTIFF’S MOTION FOR LEAVE TO
  AMEND SHOULD BE DENIED AS FUTILE..................................................................................4

            A.         Plaintiff’s New Allegations Of Defamation Are Time-Barred......................................5

            B.         Plaintiff New Allegations Are Insufficient To State A Claim.......................................6

            C.         Plaintiff Has Again Failed To Adequately Plead Special Damages...............................9


  CONCLUSION...............................................................................................................................11




                                                                      -i-
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 3 of 15 PageID #: 2171




                                                TABLE OF AUTHORITIES

  Cases

  Algarin v. Town of Wallkill, 421 F.3d 137 (2nd Cir. 2005)..................................................................8

  Alki Partners, L.P. v. Vatas Holding GMBH, 769 F.Supp.2d 478 (S.D.N.Y. 2011)...........................4

  Berwick v. New World Network Intern., Ltd., 2007 WL 949767 (S.D.N.Y. 2007)..........................10

  Burch v. Pioneer Credit Recovery, Inc., 551 F.3d 122 (2nd Cir. 2009)................................................4

  Cambridge Associates v. Inland Vale Farm Co., 116 A.D.2d 684 (2nd Dept. 1986)...........................10

  Chicherchia v. Cleary, 207 A.D.2d 855 (2nd Dept. 1994)....................................................................8

  Continental Air Ticketing Agency, Inc. v Empire Intern. Travel, Inc.,
  51 A.D.2d 104 (4th Dept 1976)........................................................................................................10

  Drug Research Corp. v Curtis Pub. Co., 7 N.Y.2d 435 (1960).........................................................10

  Ellis v. Chao, 336 F.3d 114 (2nd Cir. 2003)........................................................................................4

  Foster v. Churchill, 87 N.Y.2d 744 (1996).........................................................................................6

  Garland v Vermilyea, 88 A.D.2d 1044 (3rd Dept. 1982)...................................................................10

  Geisler v. Petrocelli, 616 F.2d 636 (2nd Cir. 1980)..............................................................................8

  Islamic Soc'y of Fire Dept. Pers. v. City of New York, 205 F.Supp.2d 75 (E.D.N.Y.2002)................4

  Jennis v. Rood, 2009 WL 393412 (2nd Cir. 2009)...............................................................................5

  Kirch v. Liberty Media Corp., 449 F.3d 388 (2nd Cir. 2006)...............................................................8

  Neal v. Wilson, 239 F.Supp.3d 755 (S.D.N.Y. 2017).........................................................................5

  N.Y. Times Co. v. Sullivan, 376 U.S. 254 (1964)..............................................................................8

  Palin v. N.Y. Times Co., 940 F.3d 804 (2nd Cir. 2019).......................................................................6

  Reilly v. Natwest Mkts. Grp. Inc., 181 F.3d 253 (2nd Cir. 1999).....................................................6-7


                                                                   -ii-
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 4 of 15 PageID #: 2172




  Sea Tow Services International, Inc. v. St. Paul Fire & Marine Ins. Co.,
  211 F.Supp.3d 528 (E.D.N.Y. 2016).................................................................................................5

  Sebastiani v. Brooklyn Hosp. Center, 2019 WL 3281010 (E.D.N.Y. 2019).......................................6

  Tannerite Sports, LLC v. NBCUniversal New Group, 864 F.3d 236 (2nd Cir. 2017)...........................9

  Thai v. Cayre Group, Ltd., 726 F.Supp.2d 323 (S.D.N.Y. 2010).....................................................10

  Thorsen v. Sons of Norway, 996 F.Supp.2d 143 (E.D.N.Y. 2014)...................................................10

  Statutes

  Federal Rule of Civil Procedure 15(a)................................................................................................4

  Federal Rule of Civil Procedure 12(b)(6)...........................................................................................4

  Fed Rule of Civil Procedure 9(g).....................................................................................................10

  New York Civil Practice Law And Rules § 215(3).............................................................................5




                                                                   -iii-
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 5 of 15 PageID #: 2173
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 6 of 15 PageID #: 2174
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 7 of 15 PageID #: 2175
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 8 of 15 PageID #: 2176
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 9 of 15 PageID #: 2177
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 10 of 15 PageID #: 2178
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 11 of 15 PageID #: 2179
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 12 of 15 PageID #: 2180
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 13 of 15 PageID #: 2181
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 14 of 15 PageID #: 2182
Case 1:22-cv-01032-PKC-JRC Document 146 Filed 02/21/23 Page 15 of 15 PageID #: 2183
